           Case 1:18-cv-01312-VJW Document 6 Filed 09/21/18 Page 1 of 3
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                                        No. 18-1312C
                                 (Filed September 21, 2018)
                                 NOT FOR PUBLICATION

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GERARD L. WEBB,                           *
                                          *                            FILED
                    Plaintiff,            *
                                          *                          SEP 2 1 2018
      V.                                  *                          U.S. COURT OF
                                          *                         FEDERAL CLAIMS
THE UNITED STATES,                        *
                                          *
                    Defendant.            *
                                  *
* * * * * * * * * * * * * * * * * *


                                         ORDER

       On August 24, 2018, Gerard Webb filed a complaint with the bare allegation,
stated twice, that "pay wasnt [sic] sufficient to cover all options available, Housing
pay, subsistence pay, expenses." Complaint iii[ 1, 3. On the accompanying cover
sheet, Mr. Webb used nature-of-suit code 340 ("Military Pay - Back Pay"), and
requested back pay in the amount of $2,608,000,000.

       On September 4, 2018, the Clerk's office received two additional documents
from Mr. Webb. The first consists of a letter from Mr. Webb and a copy of his
previous cover sheet on which he crossed out the initial r equested amount and
instead wrote $362,608,000,000. On this sheet, he also changed the Agency
Identification Code from the Department of Defense to the Army. It appears this
document is an attempt to amend Mr. Webb's initial complaint and it shall be filed
accordingly as an amendment to his original complaint.

       The second additional document is a complaint with sparse but nearly
identical language to his initial complaint---alleging that "pay isn't sufficient to
cover all options available, Housing pay, subsistence pay, expenses" (emphasis
added). The cover sheet for this document lists the Agency Identification Code as
"VA," and indicates the following nature-of-suit codes: 300 ("Civilian Pay - Back
Pay"), 303 ("Civilia n Pay - Disability Annuity"), and 312 ("Civilian Pay - Other").



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        Case 1:18-cv-01312-VJW Document 6 Filed 09/21/18 Page 2 of 3




An "[u]nlimited" amount of damages is claimed by plaintiff. Mister Webb also
submitted a check to cover the filing fee for a new complaint.

       As Mr. Webb is representing himself, he apparently does not realize he can
combine multiple claims against the United States in the same case. In light of
plaintiffs prose status, the Court will treat the second additional document as
another amendment to the complaint in case No. 18-1312C. Since no filing fee is
required for amendments, the Clerk is directed to return to Mr. Webb the check he
submitted with this second document.

        Although Mr. Webb is claiming an impossibly large amount of damages---as
it is inconceivable that he could be owed hundreds of billions of dollars, much less
an award without limit---our court does have jurisdiction over certain claims for
military or civilian pay. But among the initial complaint and the two amendments,
the allegations are not specific enough to enable a meaningful response from the
government. A fourth document received from Mr. Webb, filed by the Clerk on
September 14, 2018, fills in some of the gaps, and should be treated as an exhibit to
his amended complaint. See ECF No. 5. This document, an application for the
correction of military records signed and dated by plaintiff on September 5, 2018,
indicates that he was discharged (presumably from the Army) on February 7, 2017,
and seeks a correction regarding his "Base Pay" from July 3, 1996, through
February 7, 2007. Absent from this case, however, are any specific allegations
concerning civilian pay earned (or disability incurred) while in the employ of the
United States Department of Veterans Affairs (VA). Nor are there any allegations
concerning the legal grounds for his claimed entitlement to back pay for his Army
service. The Court, moreover, notes that it is not clear whether the difference
between the discharge date (February 7, 2017) and the end point for his base pay
claim (February 7, 2007) is intentional or a typographical error.

       Under these circumstances the Court finds it appropriate, under Rule 12(e) of
the Rules of the United States Court of Federal Claims, to require a more definite
statement from Mr. Webb concerning his claims. See Bernier v. Trump, 299 F.
Supp. 3d 150, 159 (D.D.C. 2018) (applying the identical rule from the Federal Rules
of Civil Procedure, explaining that "a court can sua sponte order a plaintiff to
submit a more definite statement" (quoting Momenian v. Davidson, 878 F.3d 381,
391 (D.C. Cir. 2017) (citing, inter alia, 2 James Wm. Moore et al., Moore's Federal
Practice ,r 12.34[l][b] (3d ed. 2017))). Within twenty-eight days of the date of this
order, Mr. Webb must submit a more definite statement regarding his claims for
back pay from the Army and the VA. In particular, the Court requires clarifications
with respect to: (1) the time period for which Mr. Webb believes he was underpaid;
(2) the statutes or regulations which he contends entitle him to more pay than he
has received; and (3) an explanation of why he contends he is owed back pay by the
U.S. Department of Veterans Affairs.



                                        -2-
        Case 1:18-cv-01312-VJW Document 6 Filed 09/21/18 Page 3 of 3




       The government's response to the amended complaint will not be due until
thirty-one days after service of the more definite statement by Mr. Webb.


IT IS SO ORDERED.




                                       -3-
